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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS
                                    Eastern Division

JOHN DOE,                                 )
                                          )
      Plaintiff,                          )
                                          )
v.                                        )                  Case No. 1:18-cv-12462-IT
                                          )
HARVARD UNIVERSITY,                       )
                                          )
      Defendant.                          )
__________________________________________)

                                             NOTICE

         In advance of the hearing on his Motion for a Temporary Restraining Order and

Preliminary Injunction (“Motion”) on December 11, 2018, Plaintiff John Doe submits the

following Notice:

   (1)      No Objection to December 11, 2018 Hearing.

            a. On November 30, 2018, the Court set a December 11, 2018 hearing on Mr. Doe’s

                motion for a temporary restraining order and preliminary injunction. Minute

                Order (Nov. 30, 2018). In doing so, the Court noted that Mr. Doe “may file with

                the court supplemental facts supporting the need to issue an order before the

                hearing.” Id. Mr. Doe has not submitted such facts, and presently does not plan

                to do so, because Harvard, following Mr. Doe’s filing of his motion for a

                temporary restraining order and preliminary injunction, appears to have

                suspended its disciplinary proceedings against him, at least pending the Court’s

                December 11, 2018 hearing. See Email Correspondence, attached as Exhibit 1.

                Should circumstances chance, Mr. Doe promptly will update the Court.
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  (2)   Counsel at December 11, 2018 Hearing.

        a. Mr. Doe has retained counsel for this matter who are not admitted to the bar of

           this Court but who have been granted pro hac vice status. See Dkt. No. 6. These

           attorneys have primary responsibility for this case.

        b. Pursuant to Rule 83.5.3(e)(2) of the Local Rules of this Court, Mr. Doe also has

           retained local counsel, Rebecca LeGrand, a practicing member of the bar of this

           Court. Ms. LeGrand has reviewed and is familiar with all pleadings in this case,

           but she does not have primary responsibility for this case.

        c. Mr. Doe understands the Court’s rules and practices, in circumstances where

           counsel with primary responsibility for the case has been granted pro hac vice

           status, not to require the attendance of local counsel at court hearings. See L.R.

           83.5.3.

        d. Accordingly, for the sake of efficiency and conserving litigation resources,

           Mr. Doe plans to ask only his pro hac vice counsel to attend the hearing set for

           December 11. If, however, the Court would prefer the presence of local counsel,

           Mr. Doe will conform to that preference.


DATED: December 7, 2018                    /s/
                                      Amelia Schmidt (admitted pro hac vice)
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                               CERTIFICATE OF SERVICE

       I hereby certify that, on December 7, 2018, I caused the foregoing to be served on all

counsel of record via the Court’s CM/ECF system.


                                                            /s/
                                                    Amelia J. Schmidt




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